                                                     February 20, 2024

Via CM/ECF
The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

Re:    United States v. Gustavo Chavez
       22 Cr. 303 (JMF)

Dear Judge Furman:

      I write to respectfully request a 60-day adjournment of the sentencing
proceeding in the above-captioned case, currently scheduled for March 7, 2024. 1
The Government, by AUSA Andrew Jones, does not oppose this motion.

       A 60-day adjournment is justified because I require additional time to obtain
updated medical records for Mr. Chavez that are critical to the Court’s
determination of an appropriate sentence under 18 U.S.C. §§ 3553(a)(1) and
(a)(2)(D). Relevant to the Court’s consideration of Mr. Chavez’s age and overall
health in fashioning an appropriate sentence, I have also retained a physician life-
expectancy specialist, who is preparing a report for my incorporation into a
sentencing submission on Mr. Chavez’s behalf. The physician requires additional
time to complete the report, and I require additional time to review it with the
physician and Mr. Chavez before filing my sentencing letter.

       I thank the Court for its consideration of this application.

                                                     Respectfully submitted,

                                                     Andrew John Dalack, Esq.
Cc:    AUSA Andrew Jones                             Assistant Federal Defender


1
 Having conferred with United States Probation Officer John DePierri, I also request a
commensurate adjustment of the disclosure deadline for the final Pre-Sentence Report.
